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lN THE UNITED STATES D|STR!CT COURT § §§ 2 § 2
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FOR THE NORTHERN DlSTRlCT OF TEXAS

    

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DALLAS D|V|S|ON

ARTHuR cARsoN, 3 - 1 6 C V3 1 9 2 L.‘,'.' G

PLA\NT|FF,
VS.
SOF|A HERNANDEZ, VOLUNTEERS OF AMER|CA/PRARIE CREEK V|LLAGE;
ClTY OF DALLAS FAiR HOUS!NG; AND GENU!NE DATA SERV|CES,
DEFENDANTS.

COMPLA{NT FOR DECLARATOR¥/|NJUNCT|VE REUEF

WlTH JURY DEMAND

PREL|M\NAR‘{ STATEMENT:

Comes Now the P|aintiff, Arthur Carson. and brings this action Pursuang to Title VU, 42
U.S.C.3601 of the Civi| Rights and Fair Housing ACT; 42 U.S.C. 1985, Conspiracy Statue; the

Fair Credit Reporting Act, 15 u.S.C, 1681; and the Texas Property Code, Section 92,3515.

PART!ES:
1). Plaintiff, Arthur Carson, 6200 Colone! G!enn Rd., #219, Litt¥e §ock, Arkansas 72204;
2). Defendant, Sofia Hernandez, Manager VOA/Pra[ie Creek .Vi|lage Apt., 9215 Bruton Rd.,
Da||as, TX 75217;

3). Defendant, Vo|unteers of America/Prarie Creek Vi!lage, 300 E.Midway Street ,Eu\ess,
TX.76039;

4).City of Da!las Fair Housing, 1500 Mariila Street Dallas, TX 75201

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5).Genuine Data Service, LLC., 2770 Coit Rd. Suite 1150, Dallas, TX 75251.

STATEMENT OF CLA|N|S:
1). On or about May 28, 2016, Plaintiff, (Hereinafter ”Carson” ) a 62 Year old African-American Senior,
Applied for housing at the Prarie Creek Village Apartments. On June 1, 2016, through a Phone follow-up
Sofia Hernandez informed Carson that because of His past Crimina| History the application was denied.
No further information was given to Carson. Severa| Days later an adverse letter was sent to Carson
informing Him ”Criminal History, and Credit History” were the reasons for the denial.

Defendant Sofia Hernandez, at No time allowed Carson to present mitigating factors to this finding,
Such as Carson's previous five Years Renta| history at His prior address, timely payments, where the
Defendants only required a four Year previous background Rental history. Defendant Hernandez,
Failed to consider the time line from Carson's previous felonies, where Genuine Data Services
Had used a forty Year old burglary, and twenty-eight year old Attempted Murder conviction. This,
Contemporaneous with an inaccurate Homicide conviction from someone with a similar name, but
Different |\/|iddle names, and use of numerous aliases of other persons.

The Defendants Ban on Carson for previous felonies had an adverse Discriminatory effect.

|n 2014, African Americans comprised approximately 36 percent of the total population.

African Americans were incarcerated at a rate nearly three times their proportion of the Genera|

Population,( E.Ann Carson, Bureau of Justice Statistics, U.S. Dept. of Justice- Sept.2015).

2). Carson, an African American, is part of the C|ass of Disproportinate number of those Convicted,
Imprisoned, and Released from Prison. Defendants Policies and Practices deny Housing, which are
Critical to any successful reentry to Society, and this Policy is Equally Disparate and Discriminates

Against African Americans.

(2)

 

 

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This in conjunction with the Racial aspect of those that are Convicted in Texas, are axiomatic
in 2005, the Racial convictions in Texas rate by Race per 100,000 of the Population: "Whites 567;
Blacks 3167; Hispanics 830”. See ( Uneven Justice, by Marc Mauer, and Ryan S. King, 2007, The

Sentencing Project).

THE C|TY OF DALLAS FAlR HOUSlNG!

3). The City of Dallas of Dalias Fair Housing have ignored, Fostered Discrimination against African
Americans, by turning a Biind eye to Dalias Landlord’s Discriminatory Ban of flderiy African-
Americans with past Feionies as Carson. There exist No Formai Policy or Guiding criteria to prevent
Discrimination.

Gn or about June 10,2016, Barksdale Haggins of Dallas Fair Housing, errouneously advised Carson ,
That Hud Poiicy did not appiy to His situation, where "Arrest with No Felony Conviction ” was the
Required standard for Assistance.

Oniy after Carson's complaint to HUD did the Dallas Fair Housing half Heartediy investigate However,
No meaningful investigation were performed "There was a failure to obtain pertinent documents
From Prarire Creek Viilage; faiiure to obtain data reiating to Appiicant's denied Housing; failure to
Preserve evidence from Carson relating to His Phone log, which showed Carson's contact with
Betty Morris, of Volunteers of America.”

The Defendants constantly changed the narrative of Carson's complaint, during Defendants so-
Cailecl investigation
Dailas ¥air Housing actions/inactions have contributed to the Discriminatory deniai of Housing to

Carson, and have significantly effected the existence of the large Homeiess Popuiation of those

Similariy situated as Carson.

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GENUINE SERV|CE L:L~C

4). Defendants, Genuine Data Service, Contract with Realpage |nc., to provide Bac-kground data
For Appiicants seeking Housing with Volunteers of America]Prairie Creek Vi|lage . Genuine Data Service
Had a duty to provide comprehensive , accurate information Howe~ver, Genuine Data
Has gross negligently gathered inaccurate data, without any reasonable verification of its data
Cornpilation, and has further disseminated false information regarding Carson over the internet,
To its Clients.
Genuine Data gave Rea|page lnc., iais-e data, e.g." A Homicide Conviction Report, aliases Names,
And someone Name Arthur Ray Carson, multiple use of similar convictions with multiple dates”.
These exaggerated convictions have truncated Carson's abiiity to obtain stabiiity , while creating a

Monsterous portrayal of Carson.

DEFEN DANT'S CONSP!RACY AND CONFLICT OF ilNTEREST:

There exist a confiict of interest between Volunteers of America/Prairie Creek Village, and
Realpage lnc. where Voiunteers of America Manages the Prairie Creek Viilage Apartment,
This unusuai Reiationship between realpage inc,, has corrupted the motivation and decision-
Making of Prairie Creek Viliage.

There exist No legitimate i_aw Enforcement Agency signing off on data being used by Genuine Data
Service. lnternet Garbage are disseminated with emphasis place on Ethnicity , such a Policy effects
African-Americans.

The Volunteers of America, Prairie Creek Village have abdicated its stated mission of sewing the most
Vulnerable in Gur Society such as Low income Seniors with Disabilities who seek to Rebuilci their lives,

As Carson.

(4)

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"P?RETEXT'UAL USE OF CREDlT HlSTO'RY

5). The adverse letter from Volunteers of America used Credit History as it second reason to

De ny Housing. However, the Defendants gave no advance written Notice specifying the Tenant
Selection Criteria. in fact, the only thing relating to any criteria required "’Four Years at Previous
Residence, in which Carson met this standard The arbitrary use of Credit History was contrary to

Texas Law, that mandates advance written selection criteria, 992.3515, Texas Property Co-de.

~'P RAYERS:

WHEREFORE , PREMiSES CONS|DE’RED, Plainti'ff Prays , that Declaratory and injunctive Relief against
Defendants blanket Ban of Persons with a Prior Felony Conviction; Da mages of $1,000,000 from each

Defendant; M+ng ; Court Cost; and all Eise Re|ief this court deem Equitable and Just.

RESPECTFU`LLY SUBMHTED,
Mi€,,\, cwa

Arthur Carson

l, Arthur Carson Swear the foregoing statement of facts are true and correct_, pursuant to 28 U.S.C.
1746.

Mj(~‘ [M Dated this Y£LL day of /l/@ (/' ,2016.

Arthur Carson

 

 

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11/08/2016
Arthur Carson
6200 Coionel Glenn Rd 219
Li:ttle Rock, AR 72204

(501-240~3437)

clerk:

Enclosed, please find le Application for informal Pauperis, and 5 Copies of My Compiaint with
Jury Dernand.

Sincere ly,

M@M

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